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                                 CERTIFICATE OF SERVICE

       I, Tamara K. Minott, certify that I am not less than 18 years of age, and that service of the
foregoing Notice of Agenda of Matters Scheduled for Hearing on October 18, 2012 at 11:00
a.m. (Eastern Time) was caused to be made on October 16, 2012, in the manner indicated upon
the parties identified below and on the attached service list.

Date: October 16, 2012                                                /s/ Tamara K. Minott
Wilmington, DE                                                   Tamara K. Minott (No. 5643)


Via Fax                                               Via Express Mail

Gene L. Humphreys                                     Barbara Damlos
Bass Berry & Sims                                     Pacific Gas & Electric Company
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Darrell Brown
SACK GOLDBLATT MITCHELL LLP
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Via Overnight Mail

ASM Capital
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Coface North America Insurance Co.
Attn: Managing Partner
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